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 Attorneys for Plaintiff Ronald Greenspan as Estate Representative
 of the Don J. Simplot Bankruptcy Estate


                  IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF IDAHO
 In Re:
                                                     Bankruptcy Case No. 06-00002-TLM
 DON J. SIMPLOT,
                                                     Chapter 11
                      Debtor.

 RONALD F. GREENSPAN, as Estate                      Adversary Case No. _______________
 Representative of the Don J. Simplot Bankruptcy
 Estate,
                                                     COMPLAINT
                      Plaintiff,

 v.

 DJS PROPERTIES, L.P., an Idaho limited
 partnership; DJS MANAGEMENT LLC, an Idaho
 limited liability company; DJS II FAMILY
 GRANTOR TRUST, an Idaho Trust; MICHAEL
 LLOYD SIMPLOT, an individual; DEBBIE S.
 MCDONALD, an individual; CINDY SIMPLOT
 HAROIAN, an individual; JOHN DON SIMPLOT,
 an individual; APRIL DAWN SIMPLOT GWIN,
 an individual; JOHN RALSTIN SIMPLOT, an
 individual; ERIC MICHAEL SIMPLOT, an
 individual; MICHAEL L. SIMPLOT, in his
 capacity as custodian for Breanne Elizabeth
 Simplot under the Idaho Uniform Transfers to
 Minors Act; DEBBIE S. MCDONALD, in her

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 capacity as custodian for Patrick Henry McDonald
 under the Idaho Uniform Transfers to Minors Act;
 CINDY S. HAROIAN, in her capacity as custodian
 for Andrew Cortland Haroian under the Idaho
 Uniform Transfers to Minors Act; CINDY S.
 HAROIAN, in her capacity as custodian for
 Samantha Erin Haroian under the Idaho Uniform
 Transfers to Minors Act; CINDY S. HAROIAN, in
 her capacity as custodian for Isabelle Morgan
 Haroian under the Idaho Uniform Transfers to
 Minors Act; CINDY S. HAROIAN, in her capacity
 as custodian for Julian James Haroian under the
 Idaho Uniform Transfers to Minors Act; CINDY S.
 HAROIAN, in her capacity as custodian for Sophia
 Rose Haroian under the Idaho Uniform Transfers
 to Minors Act; JOHN D. SIMPLOT, in his capacity
 as custodian for John Warren Simplot under the
 Idaho Uniform Transfers to Minors Act; JOHN D.
 SIMPLOT, in his capacity as custodian for Clayton
 Allan Simplot under the Idaho Uniform Transfers
 to Minors Act; JOHN D. SIMPLOT, in his capacity
 as custodian for Thomas Robert Simplot under the
 Idaho Uniform Transfers to Minors Act; APRIL S.
 GWIN, in her capacity as custodian for Olivia
 Grace Gwin under the Idaho Uniform Transfers to
 Minors Act; NINA L. SIMPLOT, an individual;
 REID H. SIMPLOT, an individual; BREANNE
 ELIZABETH SIMPLOT, an individual; PATRICK
 HENRY MCDONALD, an individual; ANDREW
 CORTLAND HAROIAN, an individual;
 SAMANTHA ERIN HAROIAN, an individual;
 ISABELLE MORGAN HAROIAN, an individual;
 JULIAN JAMES HAROIAN, an individual;
 SOPHIA ROSE HAROIAN, an individual; JOHN
 WARREN SIMPLOT, an individual; CLAYTON
 ALLAN SIMPLOT, an individual; THOMAS
 ROBERT SIMPLOT, an individual; OLIVIA
 GRACE GWIN, an individual; and JOHN H.
 GWIN, an individual,

                      Defendants.




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        Plaintiff Ronald Greenspan, in his capacity as Estate Representative of the Don

 J. Simplot bankruptcy estate (“Estate Representative”), by and through his attorneys,

 Holland & Hart LLP , alleges upon information and belief as follows:

                           P ARTIES , J URISDICTION , AND V ENUE

        1.     Plaintiff Ronald Greenspan is the duly-appointed, court-authorized, Estate

 Representative of the Don J. Simplot bankruptcy estate in the above-captioned chapter

 11 bankruptcy case (the “Estate”).

        2.     Defendant DJS Properties, L.P. (“DJS”) is a limited partnership organized

 under the laws of the state of Idaho with its principle place of business located in Boise,

 Ada County, Idaho.

        3.     There are twenty limited partners of DJS. The Estate holds a 73.3578%

 interest in DJS as a limited partner. The remaining nineteen DJS limited partners are

 defendants in this action (the “Limited Partner Defendants”), and the Limited Partner

 Defendants are:

               a.     The DJS II Family Grantor Trust, a trust organized under the laws

        of the state of Idaho, with its principle place of business at 999 Main Street,

        Suite 1300, P.O. Box 27, Boise, Idaho, 83707-0027, claiming a 20% interest;

               b.     Michael Lloyd Simplot, residing at 12625 W. Scotfield Street,

        Boise, Idaho, 83713, claiming a 0.4107% interest;

               c.     Debbie S. McDonald, residing at 1903 E. Spring Meadow Lane,

        Boise, Idaho, 83706, claiming a 0.0107% interest;

               d.     Cindy Simplot Haroian, residing at 1849 North Stoneview Place,

        Boise, Idaho, 83702, claiming a 0.4107% interest;



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            e.      John Don Simplot, residing at 3301 Winsome Road, Boise, Idaho,

      83702, claiming a 0.4107% interest;

            f.      April Dawn Simplot Gwin, residing at 300 E. Parkriver Drive,

      Boise, Idaho, 83706, claiming a 0.4107% interest;

            g.      John Ralstin Simplot, residing at 1103 E. Harrison Street, Seattle,

      Washington, 98102, claiming a 0.4107% interest;

            h.      Eric Michael Simplot, residing at 12625 W. Scotfield Street, Boise,

      Idaho, 83713, claiming a 0.1815% interest;

            i.      Michael L. Simplot, residing at 12625 W. Scotfield Street, Boise,

      Idaho, 83713, claiming a 0.1815% interest as custodian for Breanne Elizabeth

      Simplot under the Idaho Uniform Transfers to Minors Act;

            j.      Debbie S. McDonald, residing at 1903 E. Spring Meadow Lane,

      Boise, Idaho, 83706, claiming a 0.1815% interest as custodian for Patrick Henry

      McDonald under the Idaho Uniform Transfers to Minors Act;

            k.      Cindy S. Haroian, residing at 1849 North Stoneview Place, Boise,

      Idaho, 83702, claiming a 0.1815% interest as custodian for Andrew Courtland

      Haroian under and the Idaho Uniform Transfers to Minors Act;

            l.      Cindy S. Haroian, residing at 1849 North Stoneview Place, Boise,

      Idaho, 83702, claiming a 0.1815% interest as custodian for Samantha Erin

      Haroian under the Idaho Uniform Transfers to Minors Act;

            m.      Cindy S. Haroian, residing at 1849 North Stoneview Place, Boise,

      Idaho, 83702, claiming a 0.1815% interest as custodian for Isabelle Morgan

      Haroian under the Idaho Uniform Transfers to Minors Act;



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               n.     Cindy S. Haroian, residing at 1849 North Stoneview Place, Boise,

        Idaho, 83702, claiming a 0.1815% interest as custodian for Julian James Haroian

        under the Idaho Uniform Transfers to Minors Act;

               o.     Cindy S. Haroian, residing at 1849 North Stoneview Place, Boise,

        Idaho, 83702, claiming a 0.1815% interest as custodian for Sophia Rose Haroian

        under the Idaho Uniform Transfers to Minors Act;

               p.     John D. Simplot, residing at 3301 Winsome Road, Boise, Idaho,

        83702, claiming a 0.1815% interest as custodian for John Warren Simplot under

        the Idaho Uniform Transfers to Minors Act;

               q.     John D. Simplot, residing at 3301 Winsome Road, Boise, Idaho,

        83702, claiming a 0.1815% interest as custodian for Clayton Allan Simplot under

        the Idaho Uniform Transfers to Minors Act;

               r.     John D. Simplot, residing at 3301 Winsome Road, Boise, Idaho,

        83702, claiming a 0.1815% interest as custodian for Thomas Robert Simplot

        under the Idaho Uniform Transfers to Minors Act; and

               s.     April Dawn Simplot Gwin, residing at 300 E. Parkriver Drive,

        Boise, Idaho, 83706, claiming a 0.1815% interest as custodian for Olivia Grace

        Gwin under the Idaho Uniform Transfers to Minors Act.

        4.     Defendant DJS Management LLC is a limited liability company organized

 under the laws of the state of Idaho with its principal place of business located in Boise,

 Ada County, Idaho. Defendant Debbie S. McDonald is both the manager of DJS

 Management LLC and a limited partner in DJS. Defendant DJS Management LLC

 claims a 0.4% interest in DJS as a general partner, subject to a dispute over the



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 propriety, legitimacy, and efficacy of DJS Management LLC’s appointment as a general

 partner.

        5.       The Estate holds a 2% interest in DJS as a general partner.

        6.       The remaining defendants in this action are referred to as the “Individual

 Defendants.” The Individual Defendants in this action are:

                 a.    Michael Lloyd Simplot, residing at 12625 W. Scotfield Street,

        Boise, Idaho, 83713;

                 b.    Debbie S. McDonald, residing at 1903 E. Spring Meadow Lane,

        Boise, Idaho, 83706;

                 c.    Cindy Simplot Haroian, residing at 1849 North Stoneview Place,

        Boise, Idaho, 83702;

                 d.    John Don Simplot, residing at 3301 Winsome Road, Boise, Idaho,

        83702;

                 e.    April Dawn Simplot Gwin, residing at 300 E. Parkriver Drive,

        Boise, Idaho, 83706;

                 f.    John Ralstin Simplot, residing at 1103 E. Harrison Street, Seattle,

        Washington, 98102;

                 g.    Nina L. Simplot, residing at 2401 E. Herbert Drive, Boise, Idaho,

        83706-5706;

                 h.    Reid H. Simplot, residing at 2401 E. Herbert Drive, Boise, Idaho,

        83706-5706;

                 i.    Eric Michael Simplot, residing at 12625 W. Scotfield Street, Boise,

        Idaho, 83713;



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            j.      Breanne Elizabeth Simplot, residing at 12625 W. Scotfield Street,

      Boise, Idaho, 83713;

            k.      Patrick Henry McDonald, residing at 1903 E. Spring Meadow Lane,

      Boise, Idaho, 83706;

            l.      Andrew Courtland Haroian, residing at 1849 North Stoneview

      Place, Boise, Idaho, 83702;

            m.      Samantha Erin Haroian, residing at 1849 North Stoneview Place,

      Boise, Idaho, 83702;

            n.      Isabelle Morgan Haroian, residing at 1849 North Stoneview Place,

      Boise, Idaho, 83702;

            o.      Julian James Haroian, residing at 1849 North Stoneview Place,

      Boise, Idaho, 83702;

            p.      Sophia Rose Haroian, residing at 1849 North Stoneview Place,

      Boise, Idaho, 83702;

            q.      John Warren Simplot, residing at 3301 Winsome Road, Boise,

      Idaho, 83702;

            r.      Clayton Allan Simplot, residing at 3301 Winsome Road, Boise,

      Idaho, 83702;

            s.      Thomas Robert Simplot, residing at 3301 Winsome Road, Boise,

      Idaho, 83702;

            t.      Olivia Grace Gwin, residing at 300 E. Parkriver Drive, Boise,

      Idaho, 83706; and




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                 u.    John H. Gwin, residing at 300 E. Parkriver Drive, Boise, Idaho,

        83706.

        7.       This Court has subject matter jurisdiction over this action pursuant to 28

 U.S.C. §§ 1334(b) and § 2201, and pursuant to the reservation of jurisdiction contained

 in Article 11.1.5 of the Modified Joint Plan of Reorganization of Debtor and Creditors’

 Committee in the above-captioned chapter 11 case (the “Plan”), which Plan was

 confirmed by this Court on September 26, 2007.

        8.       Venue is proper before this Court pursuant to 28 U.S.C. § 1409 as this is a

 proceeding arising under title 11, United States Code, or arising in or related to Debtor

 Don J. Simplot’s (“Debtor”) chapter 11 bankruptcy case, which case was filed in this

 District.

        9.       This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A),

 (F), (H), and (O).

                                   G ENERAL A LLEGATIONS

        10.      Debtor filed for relief under chapter 11 of the Bankruptcy Code on

 January 4, 2006 (the “Petition Date”).

        11.      Prior to the Petition Date, Debtor served as the sole general partner of

 DJS. Debtor also held, and the Estate still holds (through the Estate Representative),

 the largest limited partner interest in DJS. Debtor effectively controlled DJS and its

 operations, and used DJS’s assets as his own.

        12.      DJS is an insider of Debtor, and Debtor is an insider of DJS.

        13.      Debtor is a former employee and director of the J.R. Simplot Company

 (“JRSCo”). JRSCo is a large, closely-held, family-controlled, agribusiness company.



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 JRSCo allegedly provided business management, wealth preservation, and tax

 minimization services to Debtor as a member of the Simplot family. These services

 included documenting various purported transactions between Debtor and DJS.

        14.    After the Petition Date, the Limited Partner Defendants allegedly

 terminated Debtor’s general partner interest in DJS and appointed DJS Management

 LLC as a substitute general partner. These acts were wrongful because, among other

 reasons: (i) they occurred during the pendency of Debtor’s bankruptcy case but without

 the Limited Partner Defendants having first obtained stay relief under 11 U.S.C.

 § 362(d); (ii) they occurred without having obtained the consent of all of DJS’s

 partners; and (iii) they relied upon Debtor’s wrongful consent as a limited partner to the

 termination and appointment.

        15.    After allegedly ousting Debtor from his position as the general partner of

 DJS, DJS, DJS Management LLC, and the Limited Partner Defendants have wrongfully

 excluded Debtor from participation in DJS, both as a general and limited partner.

        16.    DJS and the Estate Representative dispute the ownership of certain assets

 (the “Contested Assets”). Debtor is the owner of record for the Contested Assets, and

 other incidents of ownership confirm that Debtor is the sole owner of the Contested

 Assets. DJS, however, claims to own the Contested Assets.

        17.    Approximately forty-five days prior to the Petition Date, Debtor

 transferred to DJS title to three parcels of real property. The first property was a

 condominium located in the Grove Hotel in downtown Boise, Idaho; the second

 property was approximately 120 acres of undeveloped property located in the

 Middleton, Idaho, area, and immediately adjacent to Debtor’s residence; and the third



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 property was a lakefront parcel located in McCall, Idaho (collectively, the “Conveyed

 Assets”). Prior to these transfers, Debtor was the title holder of record for the

 Conveyed Assets, and other incidents of ownership confirm that Debtor was the sole

 owner of the Conveyed Assets. DJS provided no contemporaneous consideration for

 the transfer of title to the Conveyed Assets.

        18.    During the four year period preceding the Petition Date, Debtor

 transferred a number of shares of Class B stock in JRSCo to the Individual Defendants,

 and transferred certain limited partner interests in DJS to the Limited Partner

 Defendants. Neither the Individual Defendants nor the Limited Partner Defendants

 provided any contemporaneous consideration for the respective transfers to them of

 Class B shares or limited partner interests.

        19.    During the four-year period preceding the Petition Date, Debtor obligated

 himself for the repayment of millions of dollars of debt. Much of this debt is reflected

 in the bankruptcy schedules Debtor filed in connection with Debtor’s chapter 11

 bankruptcy case. As a result of being obligated to repay these debts, during the four-

 year period preceding the Petition Date, Debtor was “insolvent” as that term is defined

 in 11 U.S.C. § 101(32) and Idaho Code § 55-911.

                                     COUNT I
                 Avoidance and Recovery of the “Boise Condo” Under
                      Bankruptcy Fraudulent Conveyance Law
                                   (Against DJS)

        20.    The Estate Representative realleges the allegations in paragraphs 1

 through 19 as though fully set forth here.

        21.    On November 15, 2005, approximately forty-five days prior to the Petition

 Date, Debtor purported to transfer and assign to DJS all of his interest in a

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 condominium located atop the Grove Hotel in Boise, Idaho, identified as Condominium

 Unit 1403, as shown on the Condominium Plat of Boulevard Two Fifty Five

 Condominiums, Ada County Instrument No. 98015001 (the “Boise Condo”).

       22.    At the time Debtor transferred the Boise Condo to DJS, Debtor was

 insolvent as that term is defined by 11 U.S.C. § 101(32).

       23.    Debtor’s transfer of the Boise Condo to DJS was a transfer of an interest

 of Debtor in property.

       24.    Debtor’s transfer of the Boise Condo to DJS was intended by Debtor to

 hinder, delay, or defraud Debtor’s existing and future creditors.

       25.    In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the transfer of title to the Boise Condo, and the transfer occurred

 at a time when Debtor was insolvent or was engaged in businesses and transactions for

 which Debtor’s remaining assets were unreasonably small in relation to the businesses

 and transactions.

       26.    The transfer of the Boise Condo is avoidable under 11 U.S.C. § 548.

       27.    Pursuant to 11 U.S.C. §§ 548 and 550, the Estate Representative seeks to

 have Debtor’s transfer of the Boise Condo to DJS unwound and avoided, or, in the

 alternative, a money judgment against DJS equal to the value of the Boise Condo, plus

 interest from the date of the avoided transfer. The Estate Representative also seeks

 such other additional appropriate relief as may be available at law or equity.




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                                    COUNT II
                  Avoidance and Recovery of the Boise Condo Under
                         Idaho Fraudulent Conveyance Law
                                  (Against DJS)

        28.    The Estate Representative realleges the allegations in paragraphs 1

 through 27 as though fully set forth here.

        29.    On November 15, 2005, approximately forty-five days prior to the Petition

 Date, Debtor purported to transfer and assign to DJS all of his interest in the Boise

 Condo.

        30.    DJS provided no contemporaneous consideration in exchange for the

 transfer of title to the Boise Condo.

        31.    At the time Debtor transferred the Boise Condo to DJS, Debtor was

 insolvent as that term is defined by Idaho Code § 55-911 and DJS was aware of

 Debtor’s insolvency.

        32.    Debtor transferred the Boise Condo to DJS with the intent to delay and

 defraud creditors, and the transfer is therefore void.

        33.    In the alternative, Debtor transferred the Boise Condo to DJS with the

 actual intent to hinder, delay and defraud Debtor’s creditors, and the transfer is

 therefore avoidable.

        34.    In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the transfer of title to the Boise Condo, and the transfer occurred

 at a time when Debtor was insolvent or was engaged in businesses and transactions for

 which Debtor’s remaining assets were unreasonably small in relation to the businesses

 and transactions, and the transfer is therefore avoidable.




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       35.    As a result, the transfer of the Boise Condo is void under Idaho Code §

 55-906, and/or avoidable under Idaho Code §§ 55-913(1)(a), 55-913(1)(b), and 55-914,

 and 11 U.S.C. § 544.

       36.    The Estate Representative seeks to have Debtor’s transfer of the Boise

 Condo to DJS unwound and avoided, or, in the alternative, a money judgment against

 DJS equal to the value of the Boise Condo pursuant to Idaho Code § 55-917 plus

 interest from the date of the avoided transfer. The Estate Representative also seeks

 such other additional appropriate relief as may be available at law or equity.

                                    COUNT III
                 Avoidance and Recovery of the “Boise Condo” Under
                            Bankruptcy Preference Law
                                  (Against DJS)

       37.    The Estate Representative realleges the allegations in paragraphs 1

 through 36 as though fully set forth here.

       38.    According to DJS, during a multi-year period preceding the Petition Date,

 claims arose in DJS’s favor and against Debtor such that DJS became one of Debtor’s

 “creditors,” as that term is defined in 11 U.S.C. § 101(10).

       39.    On November 15, 2005, approximately forty-five days prior to the Petition

 Date, Debtor purported to transfer and assign to DJS all of his interest in the Boise

 Condo. This transfer was to or for DJS’s benefit.

       40.    Debtor’s transfer of the Boise Condo to DJS was purportedly on account

 of the pre-existing claims in DJS’s favor and against Debtor. This transfer was,

 therefore, on account of an antecedent debt owed by Debtor to DJS before the transfer

 was made.




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        41.    At the time Debtor transferred the Boise Condo to DJS, Debtor was

 insolvent as that term is defined by 11 U.S.C. § 101(32).

        42.    Debtor’s transfer of the Boise Condo to DJS was made within ninety days

 of the Petition Date.

        43.    The current market value of the Boise Condo is believed to be in excess of

 $900,000. But for Debtor’s prepetition transfer of the Boise Condo to DJS, the Boise

 Condo would be liquidated and its proceeds available for distribution to Debtor’s

 unsecured creditors.

        44.    Debtor’s transfer of the Boise Condo to DJS will enable DJS to receive

 more than it would receive if Debtor’s case were one under chapter 7 of the Bankruptcy

 Code, the transfer had not been made, and DJS received payment of its claims pursuant

 to the Bankruptcy Code.

        45.    Pursuant to 11 U.S.C. § 547, Debtor’s transfer of the Boise Condo to DJS

 is an avoidable preference. Pursuant to 11 U.S.C. § 550, the Estate Representative is

 entitled to recover from DJS title to the Boise Condo or, in the alternative, a money

 judgment against DJS equal to the value of the Boise Condo plus interest from the date

 of the avoided transfer.

        46.    The Estate Representative seeks to have Debtor’s transfer of the Boise

 Condo to DJS unwound and avoided, or, in the alternative, a money judgment against

 DJS equal to the value of the Boise Condo plus interest from the date of the avoided

 transfer. The Estate Representative also seeks such other additional appropriate relief

 as may be available at law or equity.




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                                    COUNT IV
                Avoidance and Recovery of the “Hollow Road Property”
                   Under Bankruptcy Fraudulent Conveyance Law
                                   (Against DJS)

          47.   The Estate Representative realleges the allegations in paragraphs 1

 through 46 as though fully set forth here.

          48.   On November 29, 2005, Debtor purported to transfer and assign to DJS all

 of his interest in approximately 120 acres of undeveloped real property located at 15665

 Hollow Road, Caldwell, Idaho, 83607 (the “Hollow Road Property”), which is

 described more particularly on Exhibit A attached hereto.

          49.   At the time Debtor transferred the Hollow Road Property to DJS, Debtor

 was insolvent as that term is defined by 11 U.S.C. § 101(32).

          50.   Debtor’s transfer of the Hollow Road Property to DJS was a transfer of an

 interest of Debtor in property.

          51.   Debtor’s transfer of the Hollow Road Property to DJS was intended by

 Debtor to hinder, delay, or defraud Debtor’s existing and future creditors.

          52.   In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the transfer of title to the Hollow Road Property, and the transfer

 occurred at a time when Debtor was insolvent or was engaged in businesses and

 transactions for which Debtor’s remaining assets were unreasonably small in relation to

 the businesses and transactions.

          53.   The transfer of the Hollow Road Property is avoidable under 11 U.S.C.

 § 548.

          54.   Pursuant to 11 U.S.C. §§ 548 and 550, the Estate Representative seeks to

 have Debtor’s transfer of the Hollow Road Property to DJS unwound and avoided, or, in

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 the alternative, a money judgment against DJS equal to the value of the Hollow Road

 Property plus interest from the date of the avoided transfer. The Estate Representative

 also seeks such other additional appropriate relief as may be available at law or equity.

                                     COUNT V
                 Avoidance and Recovery of the Hollow Road Property
                      Under Idaho Fraudulent Conveyance Law
                                   (Against DJS)

        55.    The Estate Representative realleges the allegations in paragraphs 1

 through 54 as though fully set forth here.

        56.    On November 29, 2005, Debtor purported to transfer and assign to DJS all

 of his interest in the Hollow Road Property.

        57.    DJS provided no contemporaneous consideration in exchange for the

 transfer of title to the Hollow Road Property.

        58.    At the time Debtor transferred the Hollow Road Property to DJS, Debtor

 was insolvent as that term is defined by Idaho Code § 55-911 and DJS was aware of

 Debtor’s insolvency.

        59.    Debtor’s transfer of the Hollow Road Property to DJS was a transfer of an

 interest of Debtor in property.

        60.    Debtor transferred the Hollow Road Property to DJS with the intent to

 delay and defraud creditors, and the transfer is therefore void.

        61.    In the alternative, Debtor’s transfer of the Hollow Road Property was

 made with the actual intent to hinder, delay, or defraud Debtor’s creditors, and is

 therefore avoidable.

        62.    In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the transfer of title to the Hollow Road Property, and the transfer

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 occurred at a time when Debtor was insolvent or was engaged in businesses and

 transactions for which Debtor’s remaining assets were unreasonably small in relation to

 the businesses and transactions, and the transfer is therefore avoidable.

       63.    As a result, the transfer of the Hollow Road Property is void under Idaho

 Code § 55-906, and/or avoidable under Idaho Code §§ 55-913(1)(a), 55-913(1)(b), and

 55-914, and 11 U.S.C. § 544.

       64.    The Estate Representative seeks to have Debtor’s transfer of the Hollow

 Road Property to DJS unwound and avoided, or, in the alternative, a money judgment

 against DJS equal to the value of the Hollow Road Property pursuant to Idaho Code §

 55-917 plus interest from the date of the avoided transfer. The Estate Representative

 also seeks such other additional appropriate relief as may be available at law or equity.

                                    COUNT VI
                 Avoidance and Recovery of the Hollow Road Property
                         Under Bankruptcy Preference Law
                                   (Against DJS)

       65.    The Estate Representative realleges the allegations in paragraphs 1

 through 64 as though fully set forth here.

       66.    According to DJS, during a multi-year period preceding the Petition Date,

 claims arose in DJS’s favor and against Debtor such that DJS became one of Debtor’s

 “creditors,” as that term is defined in 11 U.S.C. § 101(10).

       67.    On November 29, 2005, Debtor purported to transfer and assign to DJS all

 of his interest in the Hollow Road Property.

       68.    Debtor’s transfer of the Hollow Road Property to DJS was purportedly on

 account of the pre-existing claims in DJS’s favor and against Debtor. This transfer was,




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 therefore, on account of an antecedent debt owed by Debtor to DJS before the transfer

 was made.

       69.    At the time Debtor transferred the Hollow Road Property to DJS, Debtor

 was insolvent as that term is defined by 11 U.S.C. § 101(32).

       70.    Debtor’s transfer of the Hollow Road Property to DJS was made within

 ninety days of the Petition Date.

       71.    But for Debtor’s prepetition transfer of the Hollow Road Property to DJS,

 the Hollow Road Property would be liquidated and its proceeds available for

 distribution to Debtor’s unsecured creditors.

       72.    Debtor’s transfer of the Hollow Road Property to DJS will enable DJS to

 receive more than it would receive if Debtor’s case were one under chapter 7 of the

 Bankruptcy Code, the transfer had not been made, and DJS received payment of its

 claims pursuant to the Bankruptcy Code.

       73.    Pursuant to 11 U.S.C. § 547, Debtor’s transfer of the Hollow Road

 Property to DJS is an avoidable preference. Pursuant to 11 U.S.C. § 550, the Estate

 Representative is entitled to recover from DJS title to the Hollow Road Property or, in

 the alternative, a money judgment against DJS equal to the value of the Hollow Road

 Property plus interest from the date of the avoided transfer.

       74.    The Estate Representative seeks to have Debtor’s transfer of the Hollow

 Road Property to DJS unwound and avoided, or, in the alternative, a money judgment

 against DJS equal to the value of the Hollow Road Property plus interest from the date

 of the avoided transfer. The Estate Representative also seeks such other additional

 appropriate relief as may be available at law or equity.



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                                   COUNT VII
                  Avoidance and Recovery of the “McCall Property”
                   Under Bankruptcy Fraudulent Conveyance Law
                                  (Against DJS)

        75.    The Estate Representative realleges the allegations in paragraphs 1

 through 74 as though fully set forth here.

        76.    On November 16, 2005, Debtor purported to transfer and assign all to DJS

 of his interest in a vacation home on Payette Lake located at 2340 Warren Wagon Road,

 McCall, Valley County, Idaho, described as two parcels of land, a portion of Lot 155

 Payette Lake, Cottage Sites, located in Government Lot 4, on Lot 155, Section 28, T 19

 N, R 3 East Boise Meridian, consisting of approximately .23 acres and .45 acres

 respectively (the “McCall Property”).

        77.    At the time Debtor transferred the McCall Property to DJS, Debtor was

 insolvent as that term is defined by 11 U.S.C. § 101(32).

        78.    Debtor’s transfer of the McCall Property to DJS was a transfer of an

 interest of Debtor in property.

        79.    Debtor’s transfer of the McCall Property to DJS was intended by Debtor

 to hinder, delay, or defraud Debtor’s existing and future creditors.

        80.    In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the transfer of title to the McCall Property, and the transfer

 occurred at a time when Debtor was insolvent or was engaged in businesses and

 transactions for which Debtor’s remaining assets were unreasonably small in relation to

 the businesses and transactions.

        81.    The transfer of the McCall Property is avoidable under 11 U.S.C. § 548.




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        82.    Pursuant to 11 U.S.C. §§ 548 and 550, the Estate Representative seeks to

 have Debtor’s transfer of the Hollow Road Property to DJS unwound and avoided, or, in

 the alternative, a money judgment against DJS equal to the value of the Hollow Road

 Property plus interest from the date of the avoided transfer. The Estate Representative

 also seeks such other additional appropriate relief as may be available at law or equity.

                                    COUNT VIII
                    Avoidance and Recovery of the McCall Property
                      Under Idaho Fraudulent Conveyance Law
                                   (Against DJS)

        83.    The Estate Representative realleges the allegations in paragraphs 1

 through 82 as though fully set forth here.

        84.    On November 29, 2005, Debtor purported to transfer and assign to DJS all

 of his interest in the McCall Property.

        85.    DJS provided no contemporaneous consideration in exchange for the

 transfer of title to the McCall Property.

        86.    At the time Debtor transferred the McCall Property to DJS, Debtor was

 insolvent as that term is defined by Idaho Code § 55-911 and DJS was aware of

 Debtor’s insolvency.

        87.    Debtor’s transfer of the McCall Property to DJS was a transfer of an

 interest of Debtor in property.

        88.    Debtor transferred the McCall Property to DJS with the intent to delay and

 defraud creditors, and the transfer is therefore void.

        89.    In the alternative, Debtor’s transfer of the McCall Property was made with

 the actual intent to hinder, delay, or defraud Debtor’s creditors, and is therefore

 avoidable.

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        90.    In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the transfer of title to the McCall Property, and the transfer

 occurred at a time when Debtor was insolvent or was engaged in businesses and

 transactions for which Debtor’s remaining assets were unreasonably small in relation to

 the business or transaction, and the transfer is therefore avoidable.

        91.    As a result, the transfer of the McCall Property is void under Idaho Code

 § 55-906, and/or avoidable under Idaho Code §§ 55-913(1)(a), 55-913(1)(b), and 55-

 914, and 11 U.S.C. § 544.

        92.    The Estate Representative seeks to have Debtor’s transfer of the McCall

 Property to DJS unwound and avoided, or, in the alternative, a money judgment against

 DJS equal to the value of the McCall Property pursuant to Idaho Code § 55-917. The

 Estate Representative also seeks such other additional appropriate relief as may be

 available at law or equity.

                                    COUNT IX
                    Avoidance and Recovery of the McCall Property
                          Under Bankruptcy Preference Law
                                   (Against DJS)

        93.    The Estate Representative realleges the allegations in paragraphs 1

 through 92 as though fully set forth here.

        94.    According to DJS, during a multi-year period preceding the Petition Date,

 claims arose in DJS’s favor and against Debtor such that DJS became one of Debtor’s

 “creditors,” as that term is defined in 11 U.S.C. § 101(10).

        95.    On November 29, 2005, Debtor purported to transfer and assign to DJS all

 of his interest in the McCall Property.




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        96.    Debtor’s transfer of the McCall Property to DJS was purportedly on

 account of the pre-existing claims in DJS’s favor and against Debtor. This transfer was,

 therefore, on account of an antecedent debt owed by Debtor to DJS before the transfer

 was made.

        97.    At the time Debtor transferred the McCall Property to DJS, Debtor was

 insolvent as that term is defined by 11 U.S.C. § 101(32).

        98.    Debtor’s transfer of the McCall Property to DJS was made within ninety

 days of the Petition Date.

        99.    But for Debtor’s prepetition transfer of the McCall Property to DJS, the

 McCall Property would be liquidated and its proceeds available for distribution to

 Debtor’s unsecured creditors.

        100.   Debtor’s transfer of the McCall Property to DJS will enable DJS to

 receive more than it would receive if Debtor’s case were one under chapter 7 of the

 Bankruptcy Code, the transfer had not been made, and DJS received payment of its

 claims pursuant to the Bankruptcy Code.

        101.   Pursuant to 11 U.S.C. § 547, Debtor’s transfer of the McCall Property to

 DJS is an avoidable preference. Pursuant to 11 U.S.C. § 550, the Estate Representative

 is entitled to recover from DJS title to the McCall Property or, in the alternative, a

 money judgment against DJS equal to the value of the McCall Property plus interest

 from the date of the avoided transfer.

        102.   The Estate Representative seeks to have Debtor’s transfer of the McCall

 Property to DJS unwound and avoided, or, in the alternative, a money judgment against




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 DJS equal to the value of the McCall Property. The Estate Representative also seeks

 such other additional appropriate relief as may be available at law or equity.

                                        COUNT X
              Declaratory Judgment—Determination of Nature, Extent, and
                       Validity of Interest in the Contested Assets
                                      (Against DJS)

       103.    The Estate Representative realleges the allegations in paragraphs 1

 through 102 as though fully set forth here.

       104.    Pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201, a federal

 court “may declare the rights and other legal relations of any interested party seeking

 such declaration[.]”

       105.    DJS purports to have an interest in multiple items of real and personal

 property titled in Debtor’s name. These assets include:

               a.       a hangar at 4217 Aviation Way, Unit O, Caldwell, Idaho;

               b.       a marina slip/condominium in Anacortes, Washington, described

       more particularly in the Deed of Trust and Security Agreement attached hereto as

       Exhibit B;

               c.       hangars 106-D and 106-E at 336 Deinhard Lane, McCall, Idaho;

               d.       real property known as Casa Soridada in Mazatlan, Mexico;

               e.       a membership interest in Entech Development, Ltd. Co.;

               f.       shares of stock in PCS Edventures!.Com, Inc., including

       approximately 505,000 shares represented by stock certificate number 663;

               g.       170,132 shares of stock in IMPCO Technologies, Inc., which were,

       post-petition, sold by one of Debtor’s secured creditors after the creditor

       obtained stay relief;

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               h.     shares of stock in Entech Corporation, including 260 shares

        represented by stock certificate number 8;

               i.     approximately $285,650.48 resulting from Patrick and Veronica

        Jutte’s payoff of a contract receivable involving real property known as Estrella

        del Mar and located in Mexico;

               j.     a real estate contract with Jose Hernandez regarding Mexico

        property;

               k.     interests in two condominiums, purchased in 2004, located at

        Sabalo Cerritos Numero 999, Interior 1, No. 608, Villas De Rueda, Mazatlan,

        Sinaloa; and Sabalo Cerritos Numero 999, Interior 1, No. 609, Villas De Rueda,

        Mazatlan, Sinaloa; and

               l.     a bank account maintained by Luis Gomez in Mazatlan, Mexico.

        106.   DJS is not the title holder of record for, and does not have any perfected

 interest in, these assets. Debtor is the sole record title holder of these assets.

        107.   Based upon, among other things, Debtor’s status as the record title holder

 of these assets, the Estate Representative contends that Debtor was the sole owner of

 each of the Contested Assets. DJS disagrees.

        108.   The Estate Representative seeks a declaration that: (i) the Estate is the

 sole owner of the Contested Assets and that DJS has no cognizable legal or equitable

 interest in the Contested Assets, or, (ii) in the alternative, that any interest DJS may

 have in the Contested Assets is void as against the Estate Representative and/or

 avoidable by the Estate Representative under applicable law, including but not limited

 to Idaho Code § 55-907 and 11 U.S.C. § 544.



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                                 COUNT XI
          Declaratory Judgment—Invalidity of DJS Ipso Facto Provisions
     (Against DJS, DJS Management LLC, and the Limited Partner Defendants)

        109.   The Estate Representative realleges the allegations in paragraphs 1

 through 108 as though fully set forth here.

        110.   Pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201, a federal

 court “may declare the rights and other legal relations of any interested party seeking

 such declaration[.]”

        111.   DJS’s Amended and Restated Agreement of Limited Partnership of DJS

 Properties, L.P. (the “Partnership Agreement”), a true and correct copy of which is

 attached hereto as Exhibit C, contains multiple provisions that restrict or condition the

 transfer of partner interests in DJS, and that are conditioned on the insolvency or

 financial condition of a partner, the commencement of a case under title 11 of the

 United States Code, or on the appointment of or taking possession by a trustee in a case

 title 11 of the United States Code, and which effect a forfeiture, modification, or

 termination of the partner’s interest in DJS.

        112.   The Partnership Agreement contains multiple provisions that purport to

 terminate or modify a partner’s rights under the Partnership Agreement based on the

 insolvency or financial condition of a partner at any time before the closing of a case

 under title 11 of the United States Code, the commencement of a case under title 11 of

 the United States Code, or the appointment of or taking possession by a trustee in a case

 title 11 of the United States Code or a custodian before such commencement.

        113.   The provisions referenced in paragraphs 111 and 112 herein (the “Transfer

 Restrictions”) include, but are not necessarily limited to:



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             a.     Article 5.7, purporting to restrict a general partner’s rights and

      powers to transfer that partner’s general partner interest under all circumstances,

      including upon that partner’s bankruptcy;

             b.     Article 6.3, purporting to terminate a general partner’s rights and

      powers upon that partner’s bankruptcy;

             c.     Article 6.4(b)(3), purporting to terminate a general partner’s

      interests upon that partner’s bankruptcy, converting that partner to a “Defaulting

      Partner,” permitting the withholding of distributions during a four-year option

      period, and providing for the termination of that partner’s interest after the four-

      year option period without any compensation whatsoever;

             d.     Article 7.3, purporting to restrict a limited partner’s rights and

      powers to transfer that partner’s limited partner interest under all circumstances,

      including upon that partner’s bankruptcy;

             e.     Article 7.7(c), purporting to terminate a limited partner’s interests

      upon that partner’s bankruptcy, converting that partner to a “Defaulting Partner,”

      permitting the withholding of distributions during a four-year option period, and

      providing for the termination of that partner’s interest after the four-year option

      period without any compensation whatsoever;

             f.     Article 11, purporting to create rights-of-first-refusal and option

      rights in favor of DJS and it partners that would permit, after a partner filed for

      bankruptcy, DJS and/or its partners to purchase the debtor-partner’s partner

      interests at a discount and withhold distributions to the debtor-partner;




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               g.       Other articles cross-referenced by or otherwise effectuating

        Articles 5.7, 6.3, 6.4(b)(3), 7.3, 7.7(c), and 11; and

               h.       All other articles of similar purpose or effect.

        114.   The Estate Representative contends that there has been no transfer from

 Debtor in his prepetition capacity to Debtor in his postpetition capacity, and that in any

 event the Transfer Restrictions are void, invalid, and unenforceable against the Estate

 Representative’s rights and interests in DJS. DJS disagrees.

        115.   The Estate Representative seeks a declaration that the Transfer

 Restrictions are void, invalid, and unenforceable against the Estate Representative’s

 rights and interests in DJS.

                                 COUNT XII
              Declaratory Judgment—Violation of the Automatic Stay
     (Against DJS, DJS Management LLC, and the Limited Partner Defendants)

        116.   The Estate Representative realleges the allegations in paragraphs 1

 through 115 as though fully set forth here.

        117.   Pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201, a federal

 court “may declare the rights and other legal relations of any interested party seeking

 such declaration[.]”

        118.   On March 7, 2006, DJS Management LLC and the Limited Partner

 Defendants conducted a partnership meeting at which they: (i) deemed Debtor to be in

 default as a general partner by virtue of his January 4, 2006, chapter 11 bankruptcy

 filing; (ii) deemed certain of Debtor’s rights and interests as a general partner to be

 terminated; and (iii) allegedly appointed DJS Management LLC as a substitute general

 partner.



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        119.   Debtor’s rights and interests in DJS as a general and limited partner were

 not automatically terminated upon Debtor’s bankruptcy filing and have not been

 terminated. Debtor’s rights and interests in DJS as a general and limited partner

 survived Debtor’s bankruptcy filing.

        120.   The actions of DJS, DJS Management LLC, and the Limited Partner

 Defendants relating to the March 7, 2006, partnership meeting were acts taken in

 violation of 11 U.S.C. § 362(a) because they were, among other things, acts to obtain

 possession of property of the estate or of property from the estate or to exercise control

 over property of the estate in violation of 11 U.S.C. § 362(a)(3).

        121.   Because the actions of DJS, DJS Management LLC, and the Limited

 Partner Defendants relating to the March 7, 2006, partnership meeting violate 11 U.S.C.

 § 362(a), these actions are void and have no force or effect.

        122.   Because the actions of DJS, DJS Management LLC, and the Limited

 Partner Defendants relating to the March 7, 2006, partnership meeting are void, either:

 (i) the Estate Representative is the sole general partner of DJS because Debtor’s

 bankruptcy filing did not automatically terminate his status as a general partner and no

 other general partner has been properly installed; or (ii) there has been no general

 partner of DJS for more than ninety days and, therefore, DJS must be dissolved

 according to Article 1.5 of the Partnership Agreement and applicable law.

        123.   DJS, DJS Management LLC, and the Limited Partner Defendants disagree

 with the allegations in this Count XII.

        124.   The Estate Representative seeks a declaration that: (i) the acts of DJS,

 DJS Management LLC, and the Limited Partner Defendants in deeming Debtor to be in



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 default as a general partner by virtue of his January 4, 2006, chapter 11 bankruptcy

 filing, deeming certain of Debtor’s rights and interests as a general partner to be

 terminated, and appointing Defendant DJS Management LLC as a substitute general

 partner are void because the acts violated the automatic stay; and (ii) either the Estate

 Representative is the sole general partner of DJS because Debtor’s bankruptcy filing did

 not automatically terminate his status as a general partner and no other general partner

 has been properly installed, or, in the alternative, there has been no general partner of

 DJS for more than ninety days and, therefore, DJS must be dissolved according to

 Article 1.5 of the Partnership Agreement and applicable law.

                                   COUNT XIII
                          Violation of the Automatic Stay
        (Against DJS, DJS Management LLC, the Limited Partner Defendants)

        125.   The Estate Representative realleges the allegations in paragraphs 1

 through 124 as though fully set forth here.

        126.   Prior to the Petition Date, Debtor was the sole general partner of DJS with

 a 2% general partner interest, and a limited partner with a 73.3578% limited partner

 interest.

        127.   Debtor’s rights and interests in DJS as a general and limited partner were

 not automatically terminated upon Debtor’s bankruptcy filing and have not been

 terminated. Debtor’s rights and interests in DJS as a general and limited partner

 survived Debtor’s bankruptcy filing.

        128.   On March 7, 2006, DJS Management LLC and the Limited Partner

 Defendants conducted a partnership meeting at which they: (i) deemed Debtor to be in

 default as a general partner by virtue of his January 4, 2006, chapter 11 bankruptcy



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 filing; (ii) deemed certain of Debtor’s rights and interests as a general partner to be

 terminated; and (iii) allegedly appointed DJS Management LLC as a substitute general

 partner.

        129.   The actions of DJS, DJS Management LLC, and the Limited Partner

 Defendants relating to the March 7, 2006, partnership meeting were acts taken in

 violation of 11 U.S.C. § 362(a) because they were, among other things, acts to obtain

 possession of property of the estate or of property from the estate or to exercise control

 over property of the estate in violation of 11 U.S.C. § 362(a)(3).

        130.   The actions of DJS, DJS Management LLC, and the Limited Partner

 Defendants relating to the March 7, 2006, partnership meeting were intentional.

        131.   DJS, DJS Management LLC, and the Limited Partner Defendants all had

 actual knowledge of Debtor’s bankruptcy filing prior to the March 7, 2006, partnership

 meeting.

        132.   But for the intentional, willful, and wrongful acts of DJS, DJS

 Management LLC, and the Limited Partner Defendants relating to the March 7, 2006,

 partnership meeting, either the Estate Representative would be the sole general partner

 of DJS because Debtor’s bankruptcy filing did not automatically terminate his status as

 a general partner and no other general partner has been properly installed, or, in the

 alternative, there would have been no general partner of DJS for more than ninety days

 and, therefore, DJS would have been dissolved according to Article 1.5 of the

 Partnership Agreement and applicable law.

        133.   As a result of the conduct of DJS, DJS Management LLC, and the Limited

 Partner Defendants relating to the March 7, 2006, partnership meeting, the Estate



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 Representative has been required to retain the services of attorneys to initiate and

 prosecute this action.

        134.   As a result of the acts of DJS, DJS Management LLC, and the Limited

 Partner Defendants relating to the March 7, 2006, partnership meeting, the Estate

 Representative has sustained actual damages in an amount to be established at trial, plus

 attorney fees and costs incurred in initiating and prosecuting this action.

        135.   The Estate Representative seeks a money judgment against DJS, DJS

 Management LLC, and the Limited Partner Defendants, jointly and severally, in an

 amount to be proven at trial, plus attorney fees and costs incurred in initiating and

 prosecuting this action, and for punitive damages equal to ten times the amount of

 actual damages.

                               COUNT XIV
    Declaratory Judgment—Improper Installation of Substitute General Partner
    (Against DJS, DJS Management LLC, and the Limited Partner Defendants)

        136.   The Estate Representative realleges the allegations in paragraphs 1

 through 135 as though fully set forth here.

        137.   Pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201, a federal

 court “may declare the rights and other legal relations of any interested party seeking

 such declaration[.]”

        138.   On March 7, 2006, DJS, DJS Management LLC, and the Limited Partner

 Defendants conducted a partnership meeting at which they: (i) deemed Debtor to be in

 default as a general partner by virtue of his January 4, 2006, chapter 11 bankruptcy

 filing; (ii) deemed certain of Debtor’s rights and interests as a general partner to be




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 terminated; and (iii) allegedly appointed DJS Management LLC as a substitute general

 partner.

        139.   The alleged unanimous consent of DJS’s partners to the appointment of

 DJS Management LLC as a substitute general partner was not properly obtained.

        140.   Debtor, in his capacity as a general partner, was wrongfully excluded from

 voting on whether to appoint DJS Management LLC as a substitute general partner.

        141.   Debtor voted as a limited partner in connection with the March 7, 2006,

 partnership meeting. This vote was a use of estate property outside the ordinary course

 of business. Debtor, however, voted without first having obtained bankruptcy court

 approval for his vote.

        142.   Debtor’s vote as a limited partner in connection with the March 7, 2006,

 partnership meeting violated his fiduciary duties to creditors in his bankruptcy case.

 Debtor conspired with DJS, DJS Management LLC, and the Limited Partner Defendants

 to effectuate this violation of Debtor’s fiduciary duty as a debtor in possession.

        143.   Because Debtor was wrongfully excluded from voting in his capacity as a

 general partner on whether to appoint DJS Management LLC as a substitute general

 partner, and because Debtor voted as a limited partner without having first obtained

 court approval as required, the appointment of DJS Management LLC as a substitute

 general partner is ineffective under the terms of the Partnership Agreement and

 applicable law.

        144.   Because the appointment of DJS Management LLC as a substitute general

 partner is ineffective under the terms of the Partnership Agreement and applicable law,

 either the Estate Representative is the sole general partner of DJS, or, in the alternative,



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 there has been no general partner of DJS for more than ninety days and, therefore, DJS

 must be dissolved according to Article 1.5 of the Partnership Agreement and applicable

 law.

        145.   DJS Management LLC and the Limited Partner Defendants should be and

 are estopped from claiming Debtor was not entitled to vote as a general partner on

 whether to appoint DJS Management LLC as a substitute general partner because the

 Partnership Agreement has substantively similar provisions concerning the effect of a

 bankruptcy filing on both general and limited partners’ rights and interests, but DJS

 Management LLC and the Limited Partner Defendants permitted Debtor to vote as a

 limited partner only.

        146.   DJS, DJS Management LLC, and the Limited Partner Defendants disagree

 with the allegations in this Count XIV.

        147.   The Estate Representative seeks a declaration that: (i) Debtor, in his

 capacity as a general partner, was wrongfully excluded from voting on whether to

 appoint DJS Management LLC as a substitute general partner; (ii) Debtor, in his

 capacity as a limited partner, was ineligible to vote on whether to appoint DJS

 Management LLC as a substitute general partner because Debtor failed to obtain the

 required court approval prior to voting; (iii) the appointment of DJS Management LLC

 as a substitute general partner was ineffective under the terms of the Partnership

 Agreement and applicable law, and is therefore void; and (iv) either the Estate

 Representative is the sole general partner of DJS, or, in the alternative, DJS must be

 dissolved pursuant to Article 1.5 of the Partnership Agreement and applicable law.




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                                 COUNT XV
                              Dissolution of DJS
 (Against DJS, DJS Management LLC, and the Limited Partner Defendants)

        148.   The Estate Representative realleges the allegations in paragraphs 1

 through 147 as though fully set forth here.

        149.   On March 7, 2006, DJS Management LLC and the Limited Partner

 Defendants conducted a partnership meeting at which they: (i) deemed Debtor to be in

 default as a general partner by virtue of his January 4, 2006, chapter 11 bankruptcy

 filing; (ii) deemed certain of Debtor’s rights and interests as a general partner to be

 terminated; and (iii) allegedly appointed DJS Management LLC as a substitute general

 partner.

        150.   The appointment of DJS Management LLC as a substitute general partner

 was and is ineffective and void because of, among other things, those reasons set forth

 in Counts XII, XIII, and XIV of this Complaint, including that Debtor’s vote as a

 limited partner in favor of the appointment was made without first obtaining required

 bankruptcy court approval, making the vote itself ineffective and void.

        151.   DJS, DJS Management LLC, and the Limited Partner Defendants contend

 that Debtor’s status as a general partner terminated upon his bankruptcy filing on the

 Petition Date. If so, the failure of DJS, DJS Management LLC, and the Limited Partner

 Defendants to properly install a substitute general partner has triggered the mandatory

 dissolution and winding-up provisions of Idaho Code § 53-2-801(4) and Article 1.5 of

 the Partnership Agreement.

        152.   If DJS, DJS Management LLC, and the Limited Partner Defendants are

 incorrect in their contention that Debtor’s status as a general partner terminated upon



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 his bankruptcy filing on the Petition Date, then the Estate Representative remains the

 sole general partner of DJS. The Estate Representative also controls a majority interest

 in DJS as a limited partner and is entitled to receive distributions therefor. Based on

 the foregoing, as a general partner and majority-interest-holding limited partner, the

 Estate Representative seeks and hereby applies for a court order directing the

 dissolution and winding-up of DJS pursuant to Idaho Code §§ 53-2-801 and 802.

                                 COUNT XVI
                          Breach of Partnership Duties
        (Against DJS Management LLC and the Limited Partner Defendants)

       153.   The Estate Representative realleges the allegations in paragraphs 1

 through 152 as though fully set forth here.

       154.   From and after the Petition Date, DJS Management LLC and the Limited

 Partner Defendants have excluded Debtor and the Estate Representative from

 participating in DJS as a general and limited partner. This exclusion of Debtor is

 wrongful under the Partnership Agreement and applicable law.

       155.   DJS Management LLC and the Limited Partner Defendants’ wrongful

 exclusion of Debtor and the Estate Representative from participating in DJS includes,

 but is not limited to, DJS’s failure to make distributions to Debtor and the Estate

 Representative.

       156.   DJS Management LLC and the Limited Partner Defendants’ wrongful

 exclusion of Debtor from participating in DJS includes, but is not limited to, excluding

 Debtor from voting in his capacity as a general partner at the March 7, 2006,

 partnership meeting on whether to appoint DJS Management LLC as a substitute

 general partner.



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        157.   DJS Management LLC and the Limited Partner Defendants’ wrongful

 exclusion of Debtor and the Estate Representative from participating in DJS is a

 violation of DJS Management LLC and the Limited Partner Defendants’ duties of

 loyalty, care, good faith, and fair dealing.

        158.   As a result of DJS Management LLC and the Limited Partner Defendants’

 violation of their duties of loyalty, care, good faith, and fair dealing, the Estate

 Representative has been damaged in an amount to be proven at trial.

                                  COUNT XVII
                Declaratory Judgment—Unavailability of Setoff Rights
                                  (Against DJS)

        159.   The Estate Representative realleges the allegations in paragraphs 1

 through 158 as though fully set forth here.

        160.   Pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201, a federal

 court “may declare the rights and other legal relations of any interested party seeking

 such declaration[.]”

        161.   DJS was the maker of an Installment Promissory Note dated June 30,

 2004, with an original principal amount of $9,088,546.94, an interest rate of 5.2% per

 annum, a maturity date of June 30, 2024, and naming JRS Properties III L.P. as the

 payee (the “DJS Note”).

        162.   JRS Properties III L.P. sold and assigned its rights under the DJS Note to

 Debtor pursuant to a Purchase and Sale Agreement dated August 31, 2004.

        163.   The DJS Note requires DJS to make annual, interest-only payments on

 June 30 of each year.




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       164.   DJS has not made the annual payments required by the DJS Note for 2006

 or 2007 in the amount of $472,604.44 each.

       165.   In connection with Debtor’s bankruptcy case, DJS filed and then later

 amended a proof of claim, which was assigned claim number 24 in Debtor’s bankruptcy

 case (the “DJS Claim”). The DJS Claim does not list a specific amount, but includes

 sums for Debtor’s partner draws. DJS claims that it is entitled to set off Debtor’s

 partner draws against the amounts DJS owes Debtor under the DJS Note.

       166.   In connection with Debtor’s bankruptcy case, Key Bank filed a proof of

 claim, which was assigned claim number 20 in Debtor’s bankruptcy case (the “Key

 Bank Claim”). The Key Bank Claim was in the amount of $2,083,596.67. The Key

 Bank Claim was the result of a judgment Key Bank obtained against DJS as the

 guarantor of a loan made to and defaulted on by Debtor. During the pendency of

 Debtor’s bankruptcy case, DJS paid Key Bank $2,380,195.18 on account of Key Bank’s

 judgment. DJS claims that it is entitled to set off the amounts it paid on account of the

 Key Bank judgment against the amounts DJS owes Debtor.

       167.   In connection with Debtor’s bankruptcy case, Banner Bank filed and then

 later amended a proof of claim, which was assigned claim number 35 in Debtor’s

 bankruptcy case (“Proof of Claim No. 35”). Proof of Claim No. 35 covered two loans:

 an unsecured loan for approximately $309,000, and a secured loan for approximately

 $2,588,000. In November 2007, Banner Bank sold and assigned to DJS that portion of

 Proof of Claim No. 35 pertaining to the $2,588,000 secured claim (the “Banner Bank

 Claim”). DJS claims that it is entitled to set off Debtor’s obligations under the Banner

 Bank Claim against the amounts DJS owes Debtor.



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       168.   The Estate Representative disputes that DJS is entitled to set off of

 amounts based on the DJS Claim, the Key Bank Claim, or the Banner Bank Claim.

       169.   The Estate Representative seeks a declaration: (i) that DJS is not entitled

 to set off any amounts based on the DJS Claim, the Key Bank Claim, or the Banner

 Bank Claim; or (ii) to the extent DJS is entitled to an offset, determining the amount

 due under the DJS Note and the amount to which DJS is entitled to set off.

                                     COUNT XVIII
                           Breach of Contract/Promissory Note
                                      (Against DJS)

       170.   The Estate Representative realleges the allegations in paragraphs 1

 through 169 as though fully set forth here.

       171.   DJS is the maker of the DJS Note, and DJS’s duties and obligations under

 the DJS Note are owed to the Estate Representative.

       172.   The DJS Note requires DJS to make annual, interest-only payments on

 June 30 of each year.

       173.   DJS has not made the annual payments required by the DJS Note for 2006

 or 2007 in the amount of $472,604.44 each.

       174.   DJS’s failure to make the required, annual payments for 2006 and 2007 is

 both a breach of the DJS Note and a default on the DJS Note.

       175.   Although the DJS Note includes a provision for the acceleration of the

 entire principal balance due upon default, neither Debtor nor the Estate Representative

 has accelerated the principal due under the DJS Note, but the Estate Representative

 reserves the right to accelerate the DJS Note and amend this Complaint accordingly.




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        176.   As a result of DJS’s default, the Estate Representative has been required

 to retain attorneys to enforce his rights under the DJS Note. The DJS Note permits the

 Estate Representative to recover his attorney fees and costs incurred in enforcing the

 DJS Note. The Estate Representative is also entitled to recover his attorney fees and

 costs pursuant to Idaho law, including but not limited to Idaho Code §§ 12-120 and 12-

 121.

        177.   As a result of DJS’s default, the Estate Representative has been damaged

 in the amount of: (i) $472,604.44, plus accrued interest from July 1, 2006, through the

 present; plus (ii) $472,604.44, plus accrued interest from July 1, 2007, through the

 present; plus (iii) the Estate Representative’s attorney fees and costs incurred in

 enforcing his rights under the DJS Note.

        178.   Accordingly, the Estate Representative seeks a money judgment against

 DJS in the amount of: (i) $472,604.44, plus accrued interest from July 1, 2006, through

 the present; plus (ii) $472,604.44, plus accrued interest from July 1, 2007, through the

 present; plus (iii) the Estate Representative’s attorney fees and costs incurred in

 enforcing his rights under the DJS Note. The Estate Representative also seeks such

 other additional appropriate relief as may be available at law or equity.

                                 COUNT XIX
          Declaratory Judgment—Equitable Subordination of the DJS Claim
                                (Against DJS)

        179.   The Estate Representative realleges the allegations in paragraphs 1

 through 178 as though fully set forth here.




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        180.   Pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201, a federal

 court “may declare the rights and other legal relations of any interested party seeking

 such declaration[.]”

        181.   DJS is an insider of Debtor.

        182.   DJS is the alter ego of Debtor. Debtor used DJS and DJS’s assets as his

 own, without regard to DJS’s separate existence. Debtor’s use of DJS and DJS’s assets

 were at times documented, after the fact, so as to appear to honor the separate existence

 of DJS. Treating DJS as a separate entity from Debtor would lead to inequitable results

 because doing so shields assets from the legitimate claims of Debtor’s creditors despite

 Debtor’s exercise of dominion and control over DJS and DJS’s assets and his treatment

 of DJS’s assets as though they were his own.

        183.   DJS has engaged in inequitable conduct by, among other things,

 permitting confusion over the ownership of assets, accepting transfers of property from

 Debtor with knowledge of Debtor’s impending bankruptcy, and commingling DJS’s and

 Debtor’s business and personal affairs.

        184.   DJS’s inequitable conduct has injured Debtor’s creditors by, among other

 things, impeding the orderly identification of Debtor’s assets and efficient liquidation

 of those assets to satisfy the legitimate claims of Debtor’s creditors.

        185.   The Estate Representative contends that all of DJS’s claims, including the

 DJS Claim, the Key Bank Claim, and the Banner Bank Claim should be subordinated to

 all “Allowed Claims” (as that term is defined in the Plan) for purposes of distributions

 from the Don J. Simplot Creditors’ Trust pursuant to 11 U.S.C. § 510. DJS disagrees.




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        186.   The Estate Representative seeks a declaration that all of DJS’s claims,

 including the DJS Claim, the Key Bank Claim, and the Banner Bank Claim are

 subordinated to all “Allowed Claims” (as that term is defined in the Plan) for purposes

 of distributions from the Don J. Simplot Creditors’ Trust.

                                 COUNT XX
        Declaratory Judgment—Disregard DJS’s Status as a Separate Entity
     (Against DJS, DJS Management LLC, and the Limited Partner Defendants)

        187.   The Estate Representative realleges the allegations in paragraphs 1

 through 186 as though fully set forth here.

        188.   Pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201, a federal

 court “may declare the rights and other legal relations of any interested party seeking

 such declaration[.]”

        189.   Debtor used DJS and DJS’s assets as his own, without regard to DJS’s

 separate existence. Debtor’s use of DJS and DJS’s assets were at times documented,

 after the fact, so as to appear at times to honor the separate existence of DJS. Despite

 this misleading documentation, Debtor exercised dominion and control over DJS and

 DJS’s assets as though they were his own and DJS was merely Debtor’s alter ego.

        190.   Prior to the Petition Date, Debtor held a 75.3578% interest in DJS, and

 was the sole general partner of DJS and the holder of the largest limited partner

 interest.

        191.   Debtor’s interests and ownership of DJS overlapped such that the separate

 personalities of the individual and the partnership no longer existed.

        192.   Continuing to recognize the separate existence of DJS from Debtor would

 lead to an inequitable result. One example of the resulting inequity involves Debtor’s



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 fraudulent conveyances of his personal assets to DJS shortly before the Petition Date in

 an effort to shield those assets from the legitimate claims of his creditors. The Estate

 Representative is seeking to unwind those fraudulent conveyances in this Complaint.

 The Estate Representative is responsible for 100% of his own legal fees in unwinding

 the fraudulent conveyances, and will, in effect, be subsidizing 75.3578% of DJS’s legal

 fees in defending the fraudulent conveyance claims. Each dollar spent by DJS in

 defending the fraudulent conveyance claims represents $0.753578 that should be

 available for distribution to the Estate Representative.

        193.   DJS is the alter ego of Debtor, and DJS’s existence as a separate entity

 should be disregarded. DJS disagrees.

        194.   The Estate Representative seeks a declaration that: (i) Debtor and DJS are

 one in the same; (ii) DJS is not and shall not be regarded as a separate entity apart from

 Debtor; and (iii) all of DJS’s assets are owned by the Estate Representative as the

 successor of Debtor and should be liquidated to pay Allowed Claims (as that term is

 defined in the Plan).

                                    COUNT XXI
                   Avoidance and Recovery of JRSCo. Class B Stock
                      Under Idaho Fraudulent Conveyance Law
                               (Individual Defendants)

        195.   The Estate Representative realleges the allegations in paragraphs 1

 through 194 as though fully set forth here.

        196.   During the four-year period preceding the Petition Date, Debtor made a

 series of transfers of JRSCo Class B stock to the Individual Defendants (the “Class B

 Stock Transfers”). According to Debtor and JRSCo, each share of Class B stock was

 worth between $4,382.61 and $4,867.17 during this period.

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        197.    The Class B Stock Transfers include, but are not limited to, the following

 transfers:

              DATE             TRANSFEREE                   NO. OF SHARES

          7/31/04                John H. Gwin                       5

          2/28/04             Olivia Grace Gwin                     5

          2/28/04          Thomas Robert Simplot                    5

          2/28/04           Clayton Allan Simplot                   5

          2/28/04            John Warren Simplot                    5

          2/28/04            Sophia Rose Haroian                    5

          2/28/04            Julian James Haroian                   5

          2/28/04              Nina L. Simplot                      5

          2/28/04              Reid H. Simplot                      5

          2/28/04          Isabelle Morgan Haroian                  5

          2/28/04           Samantha Erin Haroian                   5

          2/28/04          Andrew Cortland Simplot                  5

          2/28/04          Patrick Henry McDonald                   5

          2/28/04         Breanne Elizabeth Simplot                 5

          2/28/04            Eric Michael Simplot                   5

          2/28/04            John Ralstin Simplot                   5

          2/28/04         April Dawn Simplot Gwin                   5

          2/28/04             John Don Simplot                      5

          2/28/04           Cindy Simplot Haroian                   5




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         2/28/04           Debbie S. McDonald                     5

         2/28/04          Michael Lloyd Simplot                   5

         12/29/03         Samantha Erin Haroian                   5

         12/29/03            Nina L. Simplot                      5

         12/29/03            Reid H. Simplot                      5

         12/29/03        Isabelle Morgan Haroian                  5

         12/29/03        Andrew Cortland Simplot                  5

         12/29/03        Patrick Henry McDonald                   5

         12/29/03       Breanne Elizabeth Simplot                 5

         12/29/03          Eric Michael Simplot                   5

         12/29/03          John Ralstin Simplot                   5

         12/29/03       April Dawn Simplot Gwin                   5

         12/29/03           John Don Simplot                      5

         12/29/03         Cindy Simplot Haroian                   5

         12/29/03          Debbie S. McDonald                     5

         12/29/03         Michael Lloyd Simplot                   5



       198.   The Individual Defendants provided no contemporaneous consideration in

 exchange for the Class B Stock Transfers.

       199.   At the time of the Class B Stock Transfers, Debtor was insolvent as that

 term is defined by Idaho Code § 55-911.

       200.   The Class B Stock Transfers were transfers of an interest of Debtor in

 property.


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        201.     Debtor transferred the Class B stock to the Individual Defendants with the

 intent to delay and defraud creditors, and the transfer is therefore void.

        202.     In the alternative, Debtor transferred the Class B with the actual intent to

 hinder, delay, and defraud Debtor’s creditors, and is therefore avoidable.

        203.     In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the Class B Stock Transfers, and the transfer occurred at a time

 when Debtor was insolvent and engaged in businesses and transactions for which

 Debtor’s remaining assets were unreasonably small in relation to the businesses and

 transactions.

        204.     As a result, the Class B Stock Transfers are void under Idaho Code § 55-

 906, and/or avoidable under Idaho Code §§ 55-913(1)(a), 55-913(1)(b), and 55-914, and

 11 U.S.C. § 544.

        205.     The Estate Representative seeks to have the Class B Stock Transfers

 unwound and avoided, or, in the alternative, a money judgment against each of the

 Individual Defendants equal to the value of the Class B stock transferred to that

 Individual Defendant. The Estate Representative also seeks such other additional

 appropriate relief as may be available at law or equity.

                                     COUNT XXII
                 Avoidance and Recovery of a DJS Limited Partner Interest
                        Under Idaho Fraudulent Conveyance Law
                              (Limited Partner Defendants)

        206.     The Estate Representative realleges the allegations in paragraphs 1

 through 205 as though fully set forth here.

        207.     According to DJS’s tax returns, as of December 31, 2002, Debtor owned a

 73.922985% limited partner interest in DJS.

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        208.   According to Debtor’s schedules filed in connection with Debtor’s

 bankruptcy case, as of the Petition Date, Debtor owned a 73.3578% limited partner

 interest in DJS.

        209.   Debtor transferred, within the three-year period preceding the Petition

 Date, a 0.565185% limited partner interest to the Limited Partner Defendants.

        210.   The Limited Partner Defendants provided no contemporaneous

 consideration in exchange for the 0.565185% limited partner interest.

        211.   At the time of the transfer of the 0.565185% limited partner interest,

 Debtor was insolvent as that term is defined by 11 U.S.C. § 101(32) and Idaho Code

 § 55-911.

        212.   The transfer of the 0.565185% limited partner interest was a transfer of an

 interest of Debtor in property.

        213.   Debtor transferred the 0.565185% limited partner interest with the intent

 to delay and defraud creditors, and the transfer is therefore void.

        214.   In the alternative, Debtor transferred the 0.565185% limited partner

 interest with the actual intent to hinder, delay, and defraud Debtor’s creditors, and is

 therefore avoidable.

        215.   In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the 0.565185% limited partner interest, and the transfer occurred

 at a time when Debtor was insolvent and engaged in businesses and transactions for

 which Debtor’s remaining assets were unreasonably small in relation to the businesses

 and transactions.




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        216.   As a result, the transfer of the 0.565185% limited partner interest is void

 under Idaho Code § 55-906, and avoidable under Idaho Code §§ 55-913(1)(a), 55-

 913(1)(b), and 55-914, and 11 U.S.C. § 544.

        217.   The Estate Representative seeks to have the transfer of the 0.565185%

 limited partner interest unwound and avoided, or, in the alternative, a money judgment

 against the Limited Partner Defendants that received the 0.565185% limited partner

 interest equal to the value of interest transferred. The Estate Representative also seeks

 such other additional appropriate relief as may be available at law or equity.

                                 COUNT XXIII
          Derivative Action—Breach of Contract/Breach of Fiduciary Duties
                             (DJS Management LLC)

        218.   The Estate Representative realleges the allegations in paragraphs 1

 through 217 as though fully set forth here.

        219.   The Partnership Agreement does not permit a general partner to expend

 partnership funds (i) in defense of claims against limited partners, or (ii) to protect the

 rights and interests of limited partners as individuals. Instead, the Partnership

 Agreement limits a general partner’s authority to expend funds in defense of litigation

 to defending DJS itself.

        220.   Section 5.10 of the Partnership Agreement expressly recognizes the

 general partner’s fiduciary obligations to use DJS funds solely in accordance with the

 Partnership Agreement and applicable partnership law.

        221.   From and after the Petition Date, DJS has incurred and paid legal fees for

 the benefit of the Limited Partner Defendants. DJS has incurred and is incurring these




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 legal fees in connection with protecting the rights and interests of the Limited Partner

 Defendants with respect to the effect of Debtor’s bankruptcy case and related matters.

        222.   DJS Management LLC has authorized the payment of these legal fees

 without a good faith belief as to the propriety of the incursion and payment of the legal

 fees. DJS Management LLC’s conduct in authorizing the payment of these legal fees

 for the benefit of the Limited Partner Defendants represents gross negligence and

 willful misconduct.

        223.   DJS Management LLC has authorized the payment of these legal fees for

 the benefit of the Limited Partner Defendants in breach of the Partnership Agreement

 and in violation of applicable partnership law.

        224.   DJS Management LLC’s authorization of the payment of these legal fees

 for the benefit of the Limited Partner Defendants represents a breach of DJS

 Management LLC’s fiduciary duties to Debtor and the Estate Representative, including

 DJS Management LLC’s duties of loyalty, care, good faith, and fair dealing.

        225.   DJS has been damaged as a result of DJS Management LLC’s wrongful

 conduct in authorizing the payment of these legal fees for the benefit of the Limited

 Partner Defendants. DJS’s damages equal the legal fees incurred and paid for the

 benefit of the Limited Partner Defendants.

        226.   The Estate Representative seeks a money judgment on behalf of DJS, in

 an amount to be proven at trial, equal to the legal fees incurred and paid for the benefit

 of the Limited Partner Defendants.




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        227.   The Estate Representative is entitled to bring this Count XXIII on behalf

 of DJS pursuant to Idaho Code § 53-2-1002(2), and to recover its attorney fees and

 costs pursuant to Idaho Code § 53-2-1005.

                                  COUNT XXIV
         Derivative Action—Quantum Meruit/Unjust Enrichment/Restitution
                           (Limited Partner Defendants)

        228.   The Estate Representative realleges the allegations in paragraphs 1

 through 227 as though fully set forth here.

        229.   The Partnership Agreement does not permit a general partner to expend

 partnership funds (i) in defense of claims against limited partners, or (ii) to protect the

 rights and interests of limited partners as individuals. Instead, the Partnership

 Agreement limits a general partner’s authority to expend funds in defense of litigation

 to defending DJS itself.

        230.   Section 5.10 of the Partnership Agreement expressly recognizes the

 general partner’s fiduciary obligations to use DJS funds solely in accordance with the

 Partnership Agreement and applicable partnership law.

        231.   From and after the Petition Date, DJS has incurred and paid legal fees for

 the benefit of the Limited Partner Defendants. DJS has incurred and is incurring these

 legal fees in connection with protecting the rights and interests of the Limited Partner

 Defendants with respect to the effect of Debtor’s bankruptcy case and related matters.

        232.   The Limited Partner Defendants have received a benefit to which they are

 not entitled and for which they have not paid. As a result, the Limited Partner

 Defendants have been unjustly enriched. DJS is entitled to recover from the Limited

 Partner Defendants the amount by which they have been unjustly enriched.



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        233.   Due to the Limited Partner Defendants’ failure to pay for the legal

 services provided for their benefit, DJS is entitled to restitution under the doctrine of

 quantum meruit in an amount equal to the reasonable value of the legal services

 improperly provided to the Limited Partner Defendants and paid for by DJS.

        234.   The Estate Representative is entitled to bring this Count XXIV on behalf

 of DJS pursuant to Idaho Code § 53-2-1002(2), and to recover its attorney fees and

 costs pursuant to Idaho Code § 53-2-1005.

                                   COUNT XXV
                Avoidance and Recovery of the “DJS Transfers” Under
                      Bankruptcy Fraudulent Conveyance Law
                                   (Against DJS)

        235.   The Estate Representative realleges the allegations in paragraphs 1

 through 234 as though fully set forth here.

        236.   During the four-year period preceding the Petition Date, Debtor made a

 series of transfers of cash to DJS (the “DJS Transfers”). Certain of these transfers

 occurred within the one-year period preceding the Petition Date. The transfers

 occurring within one year of the Petition Date include, but are not limited to: (i) a

 transfer of $40,000 on January 18, 2005; (ii) a transfer of $130,141 on March 31, 2005;

 (iii) a transfer of $32,000 on October 17, 2005; and (iv) a transfer of $70,000 on

 October 19, 2005.

        237.   At the time Debtor made the DJS Transfers, Debtor was insolvent as that

 term is defined by 11 U.S.C. § 101(32).

        238.   DJS Transfers constitute a transfer of an interest of Debtor in property.

        239.   Debtor effectuated the DJS Transfers to hinder, delay, or defraud Debtor’s

 existing and future creditors.

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        240.   In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the DJS Transfers, and the DJS Transfers occurred at a time when

 Debtor was insolvent or was engaged in businesses and transactions for which Debtor’s

 remaining assets were unreasonably small in relation to the businesses and transactions.

        241.   The DJS Transfers are avoidable under 11 U.S.C. § 548.

        242.   Pursuant to 11 U.S.C. §§ 548 and 550, the Estate Representative seeks to

 have the DJS Transfers unwound and avoided, or, in the alternative, a money judgment

 against DJS equal to the value of the DJS Transfers, plus interest from the date of the

 avoided transfers. The Estate Representative also seeks such other additional

 appropriate relief as may be available at law or equity.

                                   COUNT XXVI
                  Avoidance and Recovery of the DJS Transfers Under
                          Idaho Fraudulent Conveyance Law
                                   (Against DJS)

        243.   The Estate Representative realleges the allegations in paragraphs 1

 through 242 as though fully set forth here.

        244.   During the four-year period preceding the Petition Date, Debtor

 effectuated the DJS Transfers.

        245.   DJS provided no contemporaneous consideration in exchange for the DJS

 Transfers.

        246.   At the time Debtor effectuated the DJS Transfers, Debtor was insolvent as

 that term is defined by Idaho Code § 55-911 and DJS was aware of Debtor’s insolvency.

        247.   Debtor effectuated the DJS Transfers with the intent to delay and defraud

 creditors, and the transfer is therefore void.




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          248.   In the alternative, Debtor effectuated the DJS Transfers with the actual

 intent to hinder, delay and defraud Debtor’s creditors, and the transfer is therefore

 avoidable.

          249.   In the alternative, Debtor received less than the reasonably equivalent

 value in exchange for the DJS Transfers, and the transfer occurred at a time when

 Debtor was insolvent or was engaged in businesses and transactions for which Debtor’s

 remaining assets were unreasonably small in relation to the businesses and transactions,

 and the transfer is therefore avoidable.

          250.   As a result, the DJS Transfers are void under Idaho Code § 55-906, and/or

 avoidable under Idaho Code §§ 55-913(1)(a), 55-913(1)(b), and 55-914, and 11 U.S.C.

 § 544.

          251.   The Estate Representative seeks to have the DJS Transfers unwound and

 avoided, or, in the alternative, a money judgment against DJS equal to the value of the

 DJS Transfers pursuant to Idaho Code § 55-917 plus interest from the date of the

 avoided transfers. The Estate Representative also seeks such other additional

 appropriate relief as may be available at law or equity.

                                    COUNT XXVII
                   Avoidance and Recovery of the DJS Transfers Under
                              Bankruptcy Preference Law
                                    (Against DJS)

          252.   The Estate Representative realleges the allegations in paragraphs 1

 through 251 as though fully set forth here.

          253.   DJS is an insider of Debtor.




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         254.   According to DJS, during a multi-year period preceding the Petition Date,

 claims arose in DJS’s favor and against Debtor such that DJS became one of Debtor’s

 “creditors,” as that term is defined in 11 U.S.C. § 101(10).

         255.   During the one-year period preceding the Petition Date, Debtor

 effectuated the DJS Transfers to DJS. These transfers were to or for DJS’s benefit.

         256.   The DJS Transfers were purportedly on account of the pre-existing claims

 in DJS’s favor and against Debtor. These transfers were, therefore, on account of an

 antecedent debt owed by Debtor to DJS before the transfers were made.

         257.   At the time the DJS Transfers were made, Debtor was insolvent as that

 term is defined by 11 U.S.C. § 101(32).

         258.   The DJS Transfers were made to an insider within one year of the Petition

 Date.

         259.   But for the DJS Transfers to DJS, the cash transferred would be available

 for distribution to Debtor’s unsecured creditors.

         260.   The DJS Transfers will enable DJS to receive more than it would receive

 if Debtor’s case were one under chapter 7 of the Bankruptcy Code, the transfers had not

 been made, and DJS received payment of its claims pursuant to the Bankruptcy Code.

         261.   Pursuant to 11 U.S.C. § 547, the DJS Transfers are an avoidable

 preference. Pursuant to 11 U.S.C. § 550, the Estate Representative is entitled to recover

 the DJS Transfers from DJS, in the alternative, a money judgment against DJS equal to

 the value of the DJS Transfers plus interest from the date of the avoided transfer.

         262.   The Estate Representative seeks to have the DJS Transfers unwound and

 avoided, or, in the alternative, a money judgment against DJS equal to the value of the



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 DJS Transfers plus interest from the date of the avoided transfer. The Estate

 Representative also seeks such other additional appropriate relief as may be available at

 law or equity.

                                  PRAYER FOR RELIEF

        WHEREFORE, the Estate Representative prays for the following relief:

        A.        With respect to Counts I, II, and III, that the Court enter a judgment

 compelling DJS, as the initial transferee, to deliver to the Estate Representative title to

 the Boise Condo free and clear of all DJS’s interests, or, in the alternative, a monetary

 judgment against DJS in an amount equal to the value of the Boise Condo, plus interest

 from the date of the avoided transfer;

        B.        With respect to Counts IV, V, and VI, that the Court enter a judgment

 compelling DJS, as the initial transferee, to deliver to the Estate Representative title to

 the Hollow Road Property free and clear of all DJS’s interests, or, in the alternative, a

 monetary judgment against DJS in an amount equal to the value of the Hollow Road

 Property, plus interest from the date of the avoided transfer;

        C.        With respect to Counts VII, VIII, and IX, that the Court enter a

 judgment compelling DJS, as the initial transferee, to deliver to the Estate

 Representative title to the McCall Property free and clear of all DJS’s interests, or, in

 the alternative, a monetary judgment against DJS in an amount equal to the value of the

 McCall Property, plus interest from the date of the avoided transfer;

        D.        With respect to Count X, that the Court enter a judgment declaring that

 the Estate is the sole owner of the Contested Assets and that that DJS has no cognizable

 legal or equitable interest in the property; or, in the alternative, that any interest DJS



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 may have in the Contested Assets is void as against the Estate Representative and/or

 avoidable by the Estate Representative under applicable law, including but not limited

 to Idaho Code § 55-907 and 11 U.S.C. § 544.

        E.       With respect to Count XI, that the Court enter a judgment declaring that

 the Transfer Restrictions are void, invalid, and unenforceable against the Estate

 Representative’s rights and interests in DJS;

        F.       With respect to Count XII, that the Court enter a judgment declaring

 that: (i) the actions of DJS, DJS Management LLC, and the Limited Partner Defendants

 in deeming Debtor to be in default as a general partner by virtue of his January 4, 2006,

 chapter 11 bankruptcy filing, deeming certain of Debtor’s rights and interests as a

 general partner to be terminated, and appointing DJS Management LLC as a substitute

 general partner are void because the acts violated 11 U.S.C. § 362; and (ii) either the

 Estate Representative is the sole general partner of DJS because Debtor’s bankruptcy

 filing did not automatically terminate his status as a general partner and no other

 general partner has been properly installed, or, in the alternative, there has been no

 general partner of DJS for more than ninety days and, therefore, DJS must be dissolved

 according to Article 1.5 of the Partnership Agreement and applicable law;

        G.       With respect to Count XIII, that the Court enter a money judgment in

 favor of the Estate Representative and against DJS, DJS Management LLC, and the

 Limited Partner Defendants, jointly and severally, for actual damages in an amount to

 be proven at trial, plus attorney fees incurred in initiating and prosecuting this action,

 and for punitive damages equal to ten times the amount of actual damages;




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        H.       With respect to Count XIV, that the Court enter a judgment declaring

 that: (i) Debtor, in his capacity as a general partner, was wrongfully excluded from

 voting on whether to appoint DJS Management LLC as a substitute general partner; (ii)

 Debtor, in his capacity as a limited partner, was ineligible to vote on whether to appoint

 DJS Management LLC as a substitute general partner because Debtor failed to obtain

 the required court approval prior to voting; (iii) the appointment of DJS Management

 LLC as a substitute general partner was ineffective under the terms of the Partnership

 Agreement and applicable law, and is therefore void; and (iv) either the Estate

 Representative is the sole general partner of DJS, or, in the alternative, DJS must be

 dissolved pursuant to Article 1.5 of the Partnership Agreement and applicable law;

        I.      With respect to Count XV, that the Court enter an order directing the

 dissolution and winding-up of DJS pursuant to Idaho Code §§ 53-2-801 and 802;

        J.      With respect to Count XVI, that the Court enter a money judgment in

 favor of the Estate Representative and against DJS Management LLC and the Limited

 Partner Defendants, jointly and severally, in an amount to be proven at trial;

        K.       With respect to Count XVII, that the Court enter a judgment declaring

 that: (i) DJS is not entitled to set off any amounts based on the DJS Claim, the Key

 Bank Claim, or the Banner Bank Claim; or, in the alternative (ii) to the extent DJS is

 entitled to an offset, determining the amount due under the DJS Note and the amount to

 which DJS is entitled to set off;

        L.       With respect to Count XVIII, that the Court enter a money judgment in

 favor of the Estate Representative and against DJS in the amount of: (i) $472,604.44,

 plus accrued interest from July 1, 2006, through the present; plus (ii) $472,604.44, plus



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 accrued interest from July 1, 2007, through the present; plus (iii) the Estate

 Representative’s attorney fees and costs incurred in enforcing his rights under the DJS

 Note;

         M.       With respect to Count XIX, that the Court enter a judgment declaring

 that the DJS Claim is subordinated to all “Allowed Claims” (as that term is defined in

 the Plan) for purposes of distributions from the Don J. Simplot Creditors’ Trust

 pursuant to the Plan;

         N.       With respect to Count XX, that the Court enter a judgment declaring

 that: (i) Debtor and DJS are one in the same; (ii) DJS is not and shall not be regarded as

 a separate entity apart from Debtor; and (iii) all of DJS’s assets are owned by the Estate

 Representative as the successor of Debtor and should be liquidated to pay Allowed

 Claims (as that term is defined in the Plan);

         O.       With respect to Count XXI, that that the Court enter a judgment

 compelling the Individual Defendants, as the initial transferees, to deliver to the Estate

 Representative the Class B Shares transferred to the Individual Defendants within four

 years prior to the Petition Date, free and clear of all DJS’s interests, or, in the

 alternative, a monetary judgment against each Individual Defendant in an amount equal

 to the value of the Class B Shares transferred to each Individual Defendant within four

 years prior to the Petition Date;

         P.      With respect to Count XXII, that that the Court enter a judgment

 compelling the Limited Partner Defendants, as the initial transferees, to deliver to the

 Estate Representative a 0.565185% limited partner interest in DJS, free and clear of all

 Limited Partner Defendants’ interests, and subject only to whatever transfer restrictions



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 held by the court to apply to the Estate Representative’s other limited partner interests

 in DJS in this action, or, in the alternative, a monetary judgment against each Limited

 Partner Defendant in an amount equal to the value of the limited partner interest in DJS

 transferred to each Limited Partner Defendant within three years of the Petition Date;

        Q.        With respect to Count XXIII, that that the Court enter a money

 judgment in favor of DJS and against DJS Management LLC in an amount to be proven

 at trial, and award the Estate Representative his attorney fees and costs incurred in

 bringing Count XXIII;

        R.        With respect to Count XXIV, that that the Court enter a money

 judgment in favor of DJS and against the Limited Partner Defendants, jointly and

 severally, in an amount to be proven at trial, and award the Estate Representative his

 attorney fees and costs incurred in bringing Count XXIV; and

        S.        With respect to Counts XXV, XXVI, and XXVII, that the Court enter a

 judgment compelling DJS, as the initial transferee, to deliver to the Estate

 Representative the DJS Transfers, or, in the alternative, a monetary judgment against

 DJS in an amount equal to the value of the DJS Transfers, plus interest from the date of

 the avoided transfer;

        T.        With respect to all counts, that the Estate Representative have such

 other and additional relief as the Court deems just and equitable under the

 circumstances.




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        DATED this 2nd day of January, 2008.

                                       HOLLAND & HART LLP



                                       By      /s/ Brad A. Goergen
                                            Brad A. Goergen, for the firm
                                            Attorneys for Ronald Greenspan as Estate
                                            Representative of the Don J. Simplot
                                            Bankruptcy Estate




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